                                                             May 10, 2021

BY ECF

The Hon. Margo K. Brodie
Chief United States District Judge
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, NY 11201

                 Re:     United States v. Andre Wilburn, No. 19 Cr. 108 (MKB)

Your Honor:

         This office represents Andre Wilburn. A conference regarding Mr. Wilburn’s letter to
the Court regarding my representation is scheduled for May 12, 2021 at 12 p.m. In light of that
letter, I respectfully request that the current pretrial motion calendar be adjourned for one month.
Should the Court grant this application, the revised schedule would be:

       Defendant’s motion due June 10, 2021;

       Government’s response due July 12, 2021;

       Defendant’s reply due July 26, 2021.

       As with previous applications, I make this understanding that the government may need
additional reasonable time to respond, and the defense will have no objection to that.

                                                      Respectfully submitted,
                                                      /s James Darrow

                                                      James Darrow
                                                      Assistant Federal Defender
                                                      Tel. (718) 407-7419
                                                      james_darrow@fd.org

                                                      Attorneys for Andre Wilburn
cc:    Counsel of record (by ECF)
